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September 25.2024 Womble Bond Dickinson (US) LLP

The Honorable Leonard P. Stark SS oe Make supe
United States District Court Wilmington, DE 19801
District of Delaware

J. Caleb Boggs Federal Building ti 302.252.4320

844 N. King Street f: 302.252.4330

Wilmington, Delaware 19801
Kevin J. Mangan

: : : . Partner
Re: = Crystallex International Corp. v. Bolivarian Republic of pirect Dial: 302-252-4361
Venezuela, Case No. 17-mc-151 Direct Fax: 302-661-7729

E-mail: Kevin. Mangan@wbd-us.com

Dear Judge Stark:

We represent Gold Reserve Inc. (“Gold Reserve’) in these proceedings. Gold Reserve is both an
Additional Judgment Creditor and a Potential Bidder.

Yesterday, Gold Reserve filed with the other five members of the “Six Creditors” group its
opposition to Venezuela’s and PDVSA’s Motion for a Short Pause in the Sale Process (the
“Venezuela Stay Motion”) (D.I. 1272). The purpose of this letter is to bring to the Court’s attention
two additional issues implicated by the Venezuela Stay Motion and the Court’s September 20 and 25
Oral Orders (D.I. 1283, 1313).

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In Gold Reserve’s view, the Topping Period procedures should have already been made known, and
the Data Room opened, to all Potential Bidders so that adequate time existed to prepare Topping
Bids before the Sale Motion was filed. The Special Master did not agree, and Gold Reserve has
reserved its rights on these issues.

In the event the Sale Motion is filed on or about September 26, 2024, as is now scheduled, Gold
Reserve will take up any issue with the Topping Period procedures, including Data Room access,
once such procedures are made public in the Sale Motion. However, if a further extension of the
Sale Process is requested by the Special Master, or if the Topping Period procedures, including Data
Room access, are not disclosed in the Sale Motion, Gold Reserve respectfully requests that the Court
set an expedited briefing schedule to resolve the two issues identified herein, i.e.:

(1) whether the Special Master should, at present, disclose the Topping Period
procedures to all Potential Bidders; and

(2) whether the Special Master should, at present, reopen the Data Room to all
Potential Bidders.

We appreciate the Court’s consideration of this request.
Respectfully,
Womble Bond Dickinson (US) LLP

/s/ Kevin J. Mangan
Kevin J. Mangan (Del. Bar No. 3810)

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cc: Counsel to Special Master
